Case 2:O4-cr-20245-.]P|\/| Document 18 Filed 05/25/05 Page 1 of 2 Page|D 22

 

 

IN rHE UNrrED sTATEs DISTRICT CoURT 6166 »6';. 7/(66
FOR THE WESTERN DISTRICT or TENNESSEE _
WESTERN DIVISION 05 t€£t‘a' 23 P?-€ |= 06
l'“\@`§:-'_` :-- .:Ul.U
CLEE}<, i).;;`;, DIS`I'. CT.
UNITED sTATEs or AMERICA W n m assess
V.
04-2024s-Ml
MICHAEL MARTIN
oRDER oN ARRAIGNMENT

 

This cause came to be heard on M@¢/ 2 5 ZJO\§ , the United States Attorney

for this district appeared on behalf of the governydent, and the defendant appeared in person and With

counsel:f%
NAME \ . /<_M who is Retained/Appointed.

L/

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a Distriet Judge, such period is extended.

The defendant, who is not in cus dy, may stand on his resent bond.
l/['He defendant, (not having }mé:p bond) (being?ld€§risoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is emanded to the custody of the U.S. Marshal.
§’. f/ZM,,. JA;._
UNITED STATES MAGISTRATE IUDGE
CHARGES: 18:922(g);

U. S. Attorney assigned to Case: C. McMullen

Age: §§

UNITED sTATE ISTRIC COUR - WTERN D's'TRCT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CR-20245 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

